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                                                                                 2021 Jan-12 PM 04:42
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

DONALD LYONS, and                      )
JILLIAN LYONS,                         )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )       Civil Action No. ____________
                                       )
SAEILO, INC. D/B/A                     )       JURY TRIAL DEMANDED
KAHR ARMS,                             )
                                       )
      Defendant.                       )


                                  COMPLAINT


      Plaintiffs, Donald Lyons and Jillian Lyons (hereinafter “Plaintiffs”), bring

this Complaint for damages and demand for jury trial against Defendant Saeilo,

Inc. d/b/a Kahr Arms (hereinafter “Kahr Arms” or “Defendant”), and states as

follows:

                                INTRODUCTION

      1.       Plaintiff, Donald Lyons, was catastrophically injured when a 9mm

Kahr CW9 semi-automatic model pistol with serial number EE4752 (“the subject

pistol”) designed, manufactured, imported, marketed, distributed, and/or sold by

Defendant fell, struck the ground, and fired a bullet that struck Mr. Lyons without

the trigger of the pistol being pulled. The subject pistol unintentionally discharged

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due to a safety defect which rendered the pistol unreasonably dangerous and unfit

for its intended use. This safety defect is known as a “Drop-Fire Defect,” whereby

the pistol will fire if dropped. The Drop-Fire Defect allows the trigger to move

rearward when the pistol is subjected to an impact or dropped. This safety defect

will result in the pistol firing unexpectedly and against the intentions of the pistol’s

user.

        2.       When the gun fired, Mr. Lyons’ hand was nowhere near the trigger.

The gun was beyond Mr. Lyons reach when it fell, struck the ground, and fired. A

defect in the design of the weapon’s firing mechanism caused its automatic safety

devices to fail. This defect allowed the pistol to fire even when the trigger was not

pulled, causing Mr. Lyons to suffer catastrophic injuries. This safety defect is the

result of the inadequate design, manufacturing, and testing of the pistol by the

Defendant.

        3.       In filing this lawsuit, the Plaintiff does not wish or intend to disparage

his or anyone’s Second Amendment right to bear arms. Rather, Plaintiffs seek to

hold the Defendant to account for designing, manufacturing, importing, marketing,

distributing, and/or selling a pistol that is defective and unreasonably dangerous.

Plaintiffs bring this action to recover for the catastrophic injuries and damages

caused when the subject pistol unintentionally discharged as a result of the safety

defect referenced above.


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                                      PARTIES

      4.       Plaintiffs are adult resident citizen of Madison County, Alabama.

      5.       Defendant, Saeilo, Inc. d/b/a Kahr Arms (i.e., “Kahr Arms”), is a

Delaware corporation with its corporate headquarters in Greeley, Pennsylvania and

its production and assembly operations in Worcester, Massachusetts. Said

Defendant was doing business in the State of Alabama at all times material hereto.

The registered agent for service of process upon Kahr Arms is Corporation Service

Company, which is located at 251 Little Falls Drive, Wilmington, Delaware 19808.

      6.       Upon information and belief, Kahr Arms designs, manufactures,

warrants, markets, and distributes firearms, including the subject firearm,

throughout the United States and the State of Alabama.

                           JURISDICTION AND VENUE

      7.       Plaintiffs are citizens of the State of Alabama. Defendant Kahr Arms

is a Delaware corporation with its principle place of business in the State of

Pennsylvania. The amount in controversy, without interest and costs, exceeds the

sum of the value specified by 28 U.S.C. § 1332.

      8.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 given that

a substantial part of the events or omissions giving rise to the Plaintiffs’ claims

occurred in this judicial district. Donald Lyons is an Alabama resident who

purchased the pistol at issue in Alabama. The incident giving rise to the Plaintiffs’


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claims occurred in Alabama. Additionally, Alabama is the location of most of the

evidence, witnesses, scene of the incident, police reports, medical treatment, and

medical records.

                                         FACTS

   A. General Allegations

      1.       Defendant Kahr Arms, at all times material hereto, either personally

or through an agent or representative:

               a. Operated, conducted, engaged in or carried on a business venture
                  in Pennsylvania, Massachusetts, Alabama and the United States,
                  and has an office or agency in this State or in this country; and

               b. Was engaged in the solicitation and performance of service
                  activities within the State; and

               c. Delivered products to this state, including the subject firearm, in
                  the ordinary course of commerce, trade, or use; and

               d. Was engaged in substantial and not isolated activity within the
                  State; and

               e. Committed acts which subject the Defendant to the jurisdiction of
                  the courts of this State.

      2.       The Defendant designed, inspected, tested, developed, manufactured,

marketed, advertised, distributed, and/or sold the subject pistol, a 9mm Kahr CW9

semi-automatic model firearm with serial number EE4752 (“the subject pistol”),

that caused the catastrophic injuries of Donald Lyons.



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       3.       The Defendant caused the subject pistol to be distributed and sold in

various states within the United States, including the State of Alabama, where

Donald Lyons resides.

       4.       The Defendant expected the pistol to reach the user, including the

Plaintiff, in substantially the same condition it was in when it was manufactured

and when it left the custody and control of Defendant, or its agents and

representatives.

       5.       The subject pistol did indeed reach the Plaintiff in substantially the

same condition it was in when it was imported, sold, and/or distributed by the

Defendant.

   B. Background on the Safety Defect

       6.       The Defendant specifically designed, manufactured, marketed, and

sold the subject double-action pistol as having an internal safety mechanism known

as a “Firing Pin Block” or “Striker Block Safety,” which is designed to prevent the

firing pin from going forward and striking the primer of a bullet and is engaged

until the trigger is in its final rearward position.

       7.       However, the subject pistol has internal fire control components that

will respond to inertial forces when the pistol is dropped onto a hard surface. In the

case of a drop, the striker will be released with enough spring force to fire a

chambered cartridge without a manual trigger pull by the user.


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      8.       The subject Kahr pistol has a measured 6 ½ to 6 ¾ pound trigger pull

force which can result in rearward inertial trigger movement from a drop or

impact. This trigger movement rearward from the drop will pull the striker back to

cock/discharge the pistol and raise the “Firing Pin Block” or “Striker Block

Safety” such that it will fire even without the user pulling the trigger.

      9.       The subject pistol does not have a trigger safety or other external

safety mechanism.

      10.      Donald Lyons purchased the subject pistol in Alabama.

      11.      Mr. Lyons purchased the pistol in reliance upon the safety device(s)

detailed above.

      12.      Mr. Lyons purchased the pistol and maintained it in a condition which

was without substantial change from the condition it was in when it left the

custody and control of the Defendant or its agents and representatives.

      13.      The design of the pistol as described is defective and as a result there

is no effective safety device to prevent an unintended discharge, even when the

trigger is inaccessible, if the firearm is dropped. This is known as a “Drop-Fire

Defect.”

   C. The Unintended Discharge – Facts Related to Donald Lyons’ Drop-Fire




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      14.    Mr. Lyons owns the subject Kahr Pistol, which was designed,

manufactured, marketed, imported, sold, and/or distributed by the Defendant. Mr.

Lyons purchased the subject pistol at a local auction in Alabama in 2019.

      15.    At the time of the unintended discharged, on July 2, 2019, Mr. Lyons

was standing in his basement at his home in Ardmore, Alabama. The subject pistol

was in a bulldog style leather holster, which covers the weapon’s trigger. Mr.

Lyons crouched down looking for a snake in his basement. When he did so, the

subject pistol fell out of its holster, struck the concrete floor of the basement, and

discharged a bullet that struck Mr. Lyons in his upper right leg, traveled through

his abdomen, passed through his colon, nicked his bladder, struck his iliac vein and

penetrated his left pelvic bone before coming to rest three inches under the skin of

his left buttocks. The bullet caused Mr. Lyons’ body extensive internal damage,

which resulted in catastrophic injury, multiple surgeries, and a protracted course of

medical treatment and rehabilitation.

      16.    It also necessitated Mrs. Lyons’ caring for Mr. Lyons through the

course of this treatment and rehabilitation.

      17.    As a result of the Drop-Fire Defect and subsequent unintended

discharge, Plaintiff suffered extensive tissue, bone, nerve, and muscle damage

from the 9mm bullet, which required extensive hospitalization and medical




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procedures. This has left Mr. Lyons with permanent scars and other damages he

will have for the rest of his life.




                                 COUNT I
                        NEGLIGENCE OR WANTONNESS

       18.    Plaintiff restates all of the preceding allegations as if fully restated

herein.

       19.    At all times material, Defendant owed a duty of reasonable care to

Plaintiffs and to other foreseeable users of the subject pistol to design, equip,

manufacture, import, sell, distribute, and market the pistol in a manner safe for its

foreseeable users.

       20.    Defendant negligently breached its duty of care to Plaintiffs in one or

more of the following ways:

              a.     Failing to properly design, equip, and manufacture the subject
                     pistol with safety devices which performed in accordance with
                     the owners operator manual instructions and within the
                     reasonable expectations of the ordinary user and consumer,
                     including Donald Lyons;

              b.     Failing to properly design, equip, and manufacture the subject
                     pistol’s safety devices and systems;

              c.     Designing and manufacturing a defective Firing Pin Block;

              d.     Designing and manufacturing a defective trigger;

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             e.    Designing and manufacturing defective safety devices and
                   systems for the pistol;

             f.    Designing and manufacturing a pistol that would discharge
                   without pulling the trigger;

             g.    Designing and manufacturing a pistol that would discharge if
                   dropped;

             h.    Failing to employ available alternative designs which would
                   have prevented the subject pistol from discharging as it did and
                   injuring Donald Lyons;

             i.    Failing to use and apply good, safe, usual, prevailing, and
                   reasonable engineering principles and standards in designing,
                   equipping, manufacturing, marketing, and distributing the
                   subject pistol;

             j.    Failing to take adequate corrective action or preventative
                   action;

             k.    Failing to create and provide clear operational and safety
                   instructions, manuals, warnings, and literature;

             l.    Failing to adequately design, manufacture, test, and monitor the
                   subject model pistol;

             m.    Failing to properly test the subject firearm to ensure it would
                   not fire without the trigger being pulled, or if dropped;

             n.    Failing to warn of all of the above; and

             o.    Committing the above acts or omissions wantonly, with a
                   conscious or reckless disregard for the rights and safety of
                   others, including Donald Lyons.

      21.    As a result of this breach of the Defendant’s duty of care, the pistol

poses an unreasonable risk of injury to users when the pistol is being used as it was

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intended and as an ordinary user would expect, and therefore it is not safe or

suitable for its intended purpose.

       22.    As a direct and proximate cause of Defendant’s negligence or

wantonness, Donald Lyons was catastrophically injured.

       23.    As a direct and proximate result of the Defendant’s conduct described

herein, Plaintiff has suffered harm therefrom, including harm and injuries, physical

and mental pain and suffering, medical bills associated with the injuries sustained,

lost wages, and all other damages allowable under Alabama law.

       24.    Therefore, Plaintiffs request that this Court enter judgment against the

Defendant for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

                             COUNT II
                 ALABAMA EXTENDED MANUFACTURERS’
                        LIABILITY DOCTRINE

       25.    Plaintiff restates all of the preceding allegations as if fully restated

herein.

       26.    At the time of the incident made the basis of this lawsuit and for a

substantial period of time prior thereto, Defendant was engaged in the business of

designing, manufacturing, and/or having manufactured, selling delivering, and/or

distributing the subject firearm throughout the United States, including the State of


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Alabama, for us by certain members of the general public. Defendant during said

period of time and for valuable consideration, designed, manufactured, or had

manufactured to its specifications, and then sold, delivered, and/or distributed the

subject firearm which catastrophically injured the Plaintiff.

      27.      The subject firearm was in substantially the same condition as when it

was manufactured, sold, and/or distributed by the Defendant and was being used in

a manner that was foreseeable and for its intended use. The firearm was not

reasonably safe when being used in a foreseeable manner, but, to the contrary, it

was defective and unreasonably dangerous to consumers when being so used.

Defendant knew or in the exercise of reasonable care should have known that said

firearm was unreasonably dangerous to consumers when being so used in a

foreseeable manner. The firearm made the basis of this action was defective

because:

            a. it lacked safety devices which would perform in accordance with the
               owner’s operator manual instructions and within the reasonable
               expectations of the ordinary user and consumer, including Donald
               Lyons;

            b. it lacked adequate safety devices and systems;

            c. it contains a faulty Firing Pin Block;

            d. it contains a fault trigger;

            e. it will fire without the trigger being pulled by the user or gun owner;



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             f. it will fire without the trigger being pulled by the user or gun owner if
                dropped;

             g. it lacks alternative safety designs and systems which would have
                prevented the subject pistol from discharging as it did and injuring
                Donald Lyons;

             h. its design lacks good, safe, usual, prevailing, and reasonable
                engineering principles and standards that would have prevented it
                from firing without the trigger being pulled;

             i. it is otherwise unreasonably dangerous and defective.

       28.       The foregoing wrongful conduct of Defendant was a proximate cause

of Plaintiff’s injuries and renders Defendant liable to Plaintiff pursuant to the

Alabama Extended Manufacturer’s Liability Doctrine.

       29.       Plaintiff’s injuries would have been eliminated or in some way

reduced by an alternative design, and the utility of the alternative design

outweighed the utility of the design the Defendant actually used.

       30.       Donald Lyons used the pistol as it was intended to be used.

       31.       Donald Lyons used the pistol as an ordinary user would have expected

it to be used.

       32.       Donald Lyons used the subject pistol in a reasonably foreseeable

manner.

       33.       Donald Lyons did not misuse or tamper with the product.

       34.       Prior to the date of the incident, Donald Lyons had no knowledge of

the defective condition of the subject pistol, and had no reason to suspect that the
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pistol was unreasonably dangerous or did not function according to its intended

design prior to the unexpected discharge of the pistol.

       35.     Therefore, Plaintiffs request that this Court enter judgment against the

Defendant for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

                         COUNT III
      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       36.     Plaintiff restates all of the preceding allegations as if fully restated

herein.

       37.     No privity of contract between Plaintiffs and Defendant is required

and a breach of implied warranty of merchantability exists against all sellers or

goods, including the manufacturer, in favor of any injured person if it was

reasonable to expect that such persons as Plaintiffs would be affected by the breach

of warranty.

       38.     Defendant was a merchant, or seller, or manufacturer with respect to

the subject firearm.

       39.     Defendant sold and/or manufactured the firearm.

       40.     The firearm was being used for the ordinary purposes for which such

products are used.



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       41.    The firearm was defective, or unmerchantable, i.e., not fit for the

ordinary purposes for which such products are used.

       42.    The defect in the firearm proximately caused injury to Plaintiffs.

       43.    Defendant was on notice of the breach of implied warranties at the

time the firearm was manufactured and distributed by Defendant. Defendant knew,

or should have known, about the defects.

       44.    Therefore, Plaintiffs request that this Court enter judgment against the

Defendant for compensatory and punitive damages, plus costs, such interest and

any other damages as may be allowed by law and demands a trial by jury of all

issues so triable.

                                 COUNT IV
                           LOSS OF CONSORTIOUM

       45.    Plaintiff restates all of the preceding allegations as if fully restated

herein.

       46.    At the time of the incident made the basis of this Complaint and at

present, Plaintiff, Jillian Lyons, was the lawful wife of Plaintiff, Donald Lyons.

They have been a married couple for several years. As a result of the serious, life

threatening medical complications and injuries to her husband, Donald Lyons, as

well as the extended rehabilitation that he has undergone and continues to undergo,

Jillian Lyons has lost the consortium, society, companionship, love, affection, aid



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cooperation, sexual relations, comfort, services and other rights growing out of her

marriage covenant with her husband.

      47.    Plaintiff further avers that the conduct of the Defendant combined and

concurred to cause Donald Lyons to be severely injured which resulted in

numerous medical complications that proximately caused Jillian Lyons to suffer

the loss of consortium, society, companionship, love, aid, cooperation, sexual

relations, comfort, services, and affection of her husband.

      48.    Therefore, Plaintiff, Jillian Lyons, respectfully demands judgment

against the Defendant for compensatory and punitive damages, in an amount,

including interest and costs of this action, which Plaintiffs seek to recover, to be

assessed by the trier of fact and demands trial by jury of all issues so triable.

                              AD DAMNUM CLAUSE

      49.    Plaintiff restates the preceding allegations as if fully restated herein.

      50.    Plaintiffs allege that the conduct of Defendant, Saeilo, Inc. d/b/a Kahr

Arms, as described in the caption of this Complaint, combined and concurred to

cause the catastrophic injuries of Donald Lyons.

      51.    Therefore, Plaintiffs request that this Court enter judgment against the

Defendant Saeilo, Inc. d/b/a Kahr Arms and demands judgment against the

Defendant in an amount to be determined by the jury that is mete, just, and proper.

                          DEMAND FOR JURY TRIAL


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Plaintiffs hereby demand a trial by jury on all claims so triable.

                          /s/ Matthew G. Garmon
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